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Exhibit E
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Subject

Advertiser Complaint
Grand Atlas Tours, et al. v.
Google LLC and Alphabet Inc.,
No. 5:20-cv-03556, ECF No. J

DOJ Complaint
United States v. Google LLC, et
al., No. 1:20-cv-03010, ECF
No. 1

 

Google’s Advertising
Monopoly

Search-engine giant Google has
through unlawful means
acquired and maintained a
monopoly in digital advertising
markets. Over the past several
years, Google leveraged its
stranglehold on online search
and search advertising to gain an
illegal monopoly in brokering
display advertising on other
companies’ websites. Google
achieved this market dominance
in part by acquiring rivals in the
online advertising space,
conditioning access to its search-
results data and YouTube video
advertising platform upon the
purchase of its separate display
advertising services, and
ensuring those systems were not
compatible with those of its
competitors in online
advertising.

Compl. at { 1.

There are barriers to entry in
these advertising markets that
protect Google’s advertising
monopolies. Most critically,
search advertising of any kind
requires a search engine with

sufficient scale to make
advertising an efficient
proposition for businesses.
Specialized search engines

require significant investment,
including the cost of populating
and indexing relevant data,
distribution, developing and
maintaining a search algorithm,
and attracting users.

Search advertising of any kind
also requires (1) a user interface
through which advertisers can
buy ads, (2) software to
facilitate the sales process, and
(3) a sales and technical support
staff. The same barriers to entry
that apply to general search
services also protect Google’s
general search text advertising
monopoly.

Compl. at (110.

 

 

Google’s Monopoly
Harms Competition and
Raises Advertising Prices

 

Because of Google’s pervasive
monopoly conduct, companies
who wish to place online
advertisements have little choice
but to pay Google for its
advertising services. The result
of Google’s extraction of
monopoly rents has been higher
advertising prices, higher
consumer prices, lower
payments to publishers of online
advertisements, and reduced
competition in the purchase and

 

Few advertisers would find
alternative sources a suitable
substitute for search advertising.
Thus, there are no reasonable
substitutes for search
advertising, and a search
advertising monopolist would
be able to maintain prices above
the level that would prevail in a
competitive market.

Compl. at J 100.

 

 
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placement of online

advertisements.

Compl. at 2.

Few general search text
advertisers would find
alternative sources a suitable
substitute for general search text
advertising. Thus, there are no
reasonable substitutes for
general search text advertising,
and a _ general search text
advertising monopolist would
be able to maintain prices above
the level that would prevail in a
competitive market.

Compl. at { 106.

 

 

Search Advertising

 

Search advertising, which
accounts for more than half of
the U.S. digital advertising
market, is the advertising that
appears on the results page after
a user runs a search on a search
engine. On Google Search, these
ads appear as text immediately
above or below the actual or
“organic” search

results.

Compl. at J 16.

 

There also is a relevant product
market for general search text

advertising that is
wholly contained within the
broader search advertising

market. General search text ads
are sold by general search
engines, typically placed just
above or below the organic
search results on a SERP, and
resemble the organic results that
appear on a general search

engine’s SERP, with a
subtle notation that they are
“ads” or “sponsored.” In

contrast, other types of search
ads—specifically, specialized
search ads—typically are
visually different from general
search text ads and convey
different types of information.

For example, a Google
Shopping Ad normally
includes an image of the

product, its price, and star-based
ratings (see Figure 3). In 2018,
general

search text ads accounted for
close to 85 percent of Google’s
search ad revenue.

Compl. at § 101.

 

 
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Google’s Monopoly in
Search Advertising

Digital advertising accounted for
more than 70% of Google’s
revenue in 2018. Google is the
dominant supplier in the search
advertising market and _ has
moved rapidly to control all
stages of the display advertising
market.

Compl. at J 23.

108. Google has monopoly
power in the search advertising
market. Based on public
estimates of total search
advertising spending in the
United States, Google’s share of
the U.S. search advertising
market is over 70 percent. This
market share —_ understates
Google’s market power in
search advertising because
many search-advertising
competitors offer only
specialized search ads and thus
compete with Google only in a
limited portion of the market.

 

Google’s Auction
Process for Search
Advertising

Google makes space on_ its
search result pages available to
advertisers through an auction
process that occurs each time a
user runs a search. Google starts
the auction by first finding all the
ads with keywords matching the
search. It then excludes ads that
are considered ineligible based
on certain criteria, such as
country restrictions. Google then
only displays ads with a
sufficiently high “rank” based
on a combination of factors,
such as the advertiser’s bid, the
quality of the ad, user location,
and the device the user is using.
Because the auction process is
repeated for every search
performed on Google Search,
different auctions may lead to
different advertisements being
displayed.

Compl. at J 27.

To sell ads on its SERP, in 2002,
Google adopted auctions for
keywords; advertisers would bid
on selected keywords, and when
those keywords arose in a query,
the winning bidder’s ad was
shown. At that time, Google also
started using a compensation
scheme where advertisers pay
only when the user clicks on the
ad, known as _ cost-per-click
pricing. Some SERP displayed
multiple ads. Eventually,
Google discovered that it could
increase the number of
clicks—and its own profits—by
ranking ads to promote those
with greater relevance and
therefore higher expected click-
through rates. To help determine
placement of ads, Google still
uses a “quality score” based on
various factors.

Compl. at § 27.

 

 

The Lack of Substitutes
for Google’s Advertising
Services

 

There are no_ reasonable
substitutes for search advertising
services or display advertising
services, respectively. While an
advertiser may connect directly

 

Other search tools, platforms,
and sources of information are
not reasonable substitutes for
general search services. Offline
and online resources, such as

 

 
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with a publisher to negotiate the
placement of advertisements
onto the publisher’s supply of
advertising space, for the vast
majority of advertisers and
publishers doing so _ is
impractical. Aside from the
limited circumstances in which
publishers and advertisers
negotiate directly, publishers
and advertisers must use third-
party display advertising
services.

Compl. at { 69.

books, publisher websites,
social media platforms, and
specialized search providers
such as Amazon, Expedia, or

Yelp, do not offer consumers the
same breadth of information or
convenience. These resources

are not “one-stop shops” and
cannot respond to all types of
consumer queries, particularly

navigational queries. Few
consumers would find
alternative sources a suitable
substitute for general search
services. Thus, there are no

reasonable _ substitutes _ for
general search services, and
a general search _ service

monopolist would be able to
maintain quality below the level
that would prevail in a
competitive market.

Compl. at 7 90.

 

 

High Barriers to Entry
and Google’s Conduct
has Made it Infeasible for
Competitors to Emerge

 

There are high barriers to entry
for both the search advertising
services market, the display
advertising market, and the
component display advertising
submarkets. Entering any of
these markets requires a
substantial investment to
develop and implement the
technology necessary to

compete. Google’s conduct,
such as leveraging its internet
search platform dominance and
denying interoperability in
several respects, as described
above, has made it exponentially
more difficult for would-be
market participants to
effectively enter these markets
and compete with Google.
Google has accordingly used its
market dominance to ensure that

 

There are significant barriers to
entry in general search services.
The creation, maintenance, and
growth of a general search
engine requires a_ significant
capital investment, highly
complex technology, access to
effective distribution, and
adequate scale. For that reason,
only two U.S. firms—Google
and Microsoft—maintain a
comprehensive search index,
which is just a single, albeit
fundamental, component of a
general search engine.

Compl. at J 94.

Google has maintained unlawful
monopolies in the general
search services, search

 

 
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market entry by would-be
competitors is infeasible. And
Google’s conduct has made it
impractical for existing market
participants to compete,

which has resulted in large
numbers of companies exiting
the relevant markets.

Compl. at J 70.

 

advertising, and general search
text advertising markets through
its many exclusionary

agreements and other conduct

that have separately and
collectively harmed competition
by:

a. Substantially foreclosing
competition in general search
services and

protecting a large majority of
search queries in the United
States against

any meaningful competition;

b. Excluding general search
services rivals from effective
distribution channels, thereby
denying rivals the necessary
scale to compete effectively

in the general search services,
search advertising, and general
search text advertising markets;
c. Impeding other potential
distribution paths for general
search services rivals;

d. Increasing barriers to entry
and excluding competition at
emerging search access points
from nascent competitors on
both computers and mobile
devices;

e. Stunting innovation in new
products that could serve as
alternative search access points
or disruptors to the traditional
Google search model; and

f. Insulating Google from
significant competitive pressure
to improve its general search,
search advertising, and general
search text advertising

products and services.

Compl. at { 166.

 

 
